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1
     Price Law Group, APC
     5940 S. Rainbow Blvd., Suite 3014
2    Las Vegas Nevada, 89118
3    Phone: 702-794-2008
     alpert@pricelawgroup.com
4

5    Steven A. Alpert, NV Bar #8353
     Attorneys for Plaintiff,
6    Mark Smitherman
7
                          UNITED STATES DISTRICT COURT
8                              DISTRICT OF NEVADA
9

10   MARK SMITHERMAN,                          Case No.: 2:20-cv-00579-JCM-DJA
11                Plaintiff,
                                               STIPULATION AND ORDER OF
12         v.                                  DISMISSAL OF DEFENDANT
13
                                               EQUIFAX INFORMATION
     EXPERIAN INFORMATION                      SERVICES, LLC
14   SOLUTIONS, INC, EQUIFAX
15
     INFORMATION SERVICES, LLC,
     TRANS UNION, LLC, AND
16   PLUSFOUR, INC.
17                Defendants.
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19

20         Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Mark Smitherman
21   and Defendant Equifax Information Services, LLC (“Equifax”), by and through
22   undersigned counsel, hereby stipulate that all claims against Equifax, shall be
23   dismissed from this action with prejudice. The parties shall bear their own
24
     attorneys’ fees and costs.
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     //
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     //
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          STIPULATION OF DISMISSAL OF DEFENDANT EQUIFAX INFORMATION SERVICES, LLC
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                                                      11/02/20 Page 2 of 3




1
                                         RESPECTFULLY SUBMITTED,

2                                        PRICE LAW GROUP, APC
3
     DATED: October 28, 2020             /s/Steven A. Alpert
4                                        Steven A. Alpert, NV Bar #8353
                                         5940 S. Rainbow Blvd., Suite 3014
5                                        Las Vegas Nevada, 89118
6
                                         Phone: 702-794-2008
                                         alpert@pricelawgroup.com
7                                        Attorneys for Plaintiff,
                                         Mark Smitherman
8

9
                                         CLARK HILL, PLLC
10
                                         /s/ Jeremy J. Thompson
11                                       JEREMY J. THOMPSON, ESQ.
12                                       Nevada Bar No. 12503
                                         3800 Howard Hughes Pkwy., Suite 500
13                                       Las Vegas, NV 89169
14                                       Telephone: (702) 862-8300
                                         Facsimile: (702) 862-8400
15
                                         Email: jthompson@clarkhill.com
16                                       Attorneys for Defendant
                                         Equifax Information Services LLC
17

18
                                   IT IS SO ORDERED:

19                                 _______________________________________
20                                 UNITED STATES DISTRICT COURT JUDGE
                                           November 2, 2020
21                                 DATED: _______________________________
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         STIPULATION OF DISMISSAL OF DEFENDANT EQUIFAX INFORMATION SERVICES, LLC
           Case 2:20-cv-00579-JCM-DJA Document 40
                                               42 Filed 10/28/20
                                                        11/02/20 Page 3 of 3




1
                               CERTIFICATE OF SERVICE

2            I hereby certify that on October 28, 2020, I electronically filed the foregoing
     with the Clerk of the Court using the ECF system, which will send notice of such
3
     filing to all attorneys of record in this matter.
4
     /s/Diego Sanchez
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          STIPULATION OF DISMISSAL OF DEFENDANT EQUIFAX INFORMATION SERVICES, LLC
